Case 1:17-cr-20156-FAM Document 1 Entered on FLSD Docket 02/22/2017 Page 1 of 6



                         UNITED STATES DISTRICT COURT
                         SO U TH ER N D ISTR ICT O F FLO R ID A
                           CaseN o. l+ & ' gy qg.gy
 UN ITED STA TES O F A M E IU CA



 CHRISTOPHER SCOTT VEG A,

                           D efendant.
                                                /

                              CR IM IN A L CO VE R SH EET


       Didthism atteroriginatefrom am atterpending intheNorthern Regionofthe United States
       Attorney's Offbce priorto October 14,2003?     Y es X N o

       Did thism atteroriginate from amatterpendingin the CentralRegion ofthe United States
       Attorney'sOffice priorto September1,2007' 2      Yes X No


                                         Respectfully subm itted,

                                         W IFRED O A .FERRER
                                         UN ITED T TES ATTO RN EY


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                                         RO B       .BRA D Y ,J
                                         Assist ntU ited StatesA
                                         D istri tCou N o.A 5501703
                                         99 N . .4th treet
                                         M iam i, orida 33132-2l1l
                                         TEL (305)961-9188
                                         FAX (305)536-4699
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      Case 1:17-cr-20156-FAM Document 1 Entered on FLSD Docket 02/22/2017 Page 2 of 6

    AO 9I(Rev.08/09) CriminalComplaint

                                     UNITED STATES D ISTRICT C OURT
                                                              forthe
                                                   Southern DistrictofFlorida

                   United StatesofAmerica                          )
                                V.                                 )                      .o sy H a -l G-
               CHRISTO PHER SCOTT VEG A,
                                                                   ) casexo.t9.(Yb)
                                                                   )
                                                                   )

                                                   CRIM INAL COM PLAINT

            1,the complainantin thiscase.statethatthe tbllowing istrtleto the bestofmy knowledgeand belief.
    Onoraboutthedatets)of       12/22/2016and02/17/2017     inthecountyof Mi  ami-Dadeand Broward inthe
        spkllt
             qvTo..- Districtof        rpqrjçlq     .thedefendantts)violated:
                                                        .. .   .



             CodeSection                                                Oyl
                                                                          mseD(
                                                                              ?.
                                                                               s'cr///tr
                                                                                       ?n
    21 U.S.C.846                               Conspiracyto possesswith intenttodistribute 50 grams ormore of
                                               methamphetamine,i ts salts,isomers,and salts ofits isomers




            Thiscrim inalcomplaintisbased on thesetlacts:
    See attachedAffidavit.




            W Contintledontheattachedsheet.


                                                                                      Colnplainant.
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                                                                                              l
                                                                                              arzltzand /ï/&,

    Sworntobefore meand signed in my presence.


    Date:          02/18/2017                                                                                   -
                                                                                 ,'     Judge'
                                                                                             ssignature

    City and state:                      Miami,Fl
                                                orida                      J athan Goodman,U.S.MaqistrateJudge
                                                                                      Printed namet?n#title
%   Case 1:17-cr-20156-FAM Document 1 Entered on FLSD Docket 02/22/2017 Page 3 of 6




                   AFFIDA V IT IN SUPPO R T O F CR IM IN A L C O M PLA INT


     1,JoshuaPassman.being fsrstduly sworn,hereby deposeand state asfollows:

                   Iam a Task Force Officerwith the Drug EntbrcementAdministration (DEA)
     currently assigned to the M iam iField D ivision.lhave been a sworn law enforcem entofticersince

     October2003. Asa Task Force Officer,Iam an investigative or1aw enforcem entoffscerofthe

     United Stateswithin the meaning ofTitle 18,United StatesCode,Section 251047).thatis,an
     officerofthe United States who is empowered by 1aw to conductinvestigationsofand to m ake

     arrestsforoffensesenumeratedinTitle18,United StatesCode,Section251641).Ihavereceived
     com prehensive training in the investigation ofnarcoticstrafticking and m oney laundering.Asa

     result of this training and after conducting hundreds of narcotic-related investigations,1 am

     knowledgeable in investigations concerning the possession, m anufkcture, distribution, and

     importationofcontrolled substances,aswellasthem eansandm ethodsinwhich offenderscanuse

     residencesto facilitate theirnarcoticstrafNcking operation.Asa DEA Task Force Officer,1have

     received training in the investigationofviolationsoftheControlled SubstancesActand myduties

     include theinvestigation ofthedistribution ofillicitdrugsto includeviolationsOfTitle21United

     StatesCode Section 84l(a)(possession with the intenttodistributea controlled substance)and
     Title 21 United States Code Section 846 (Conspiracy to possess with intentto distribute a

     controlledsubstance).
                   I subm it this affidavitbased on infonnation known to me personally from the

     investigation,aswellasinfbrmation obtained fiom otherswhoweredirectly involvedinthem atter

     orhave personalknow ledge ofthe factsherein. The aftidavitdoes notinclude a11the inform ation

     known to m e, but only infonuation suflscient to establish probable cause for the arrest of

     ChristoplaerScottVEGA forconspiring with othersknown and unknown to possesswith intentto

                                               Page 1of4
Case 1:17-cr-20156-FAM Document 1 Entered on FLSD Docket 02/22/2017 Page 4 of 6



 distribute 50 gram sorm ore ofm ethalnphetnmine,itssalts,isomers,and saltsofits isomers,in

 violation ofTitle 21,United StatesCode,Section 846.

               ln December 2016, a contsdential source (CS) informed members of DEA
 Enfbrcement Group 13 that Christopher VEGA was distributing large quantities

 m ethamphetamineinM iami-DadeandBroward Counties.TheCS introduced an tmdercoveragent

 (UC)toVEGA.OnDecember22,2016,theUC conductedacontrolledpurchaseofone(1)ounce
 ofsuspectedm ethamphetam inefrom VEGA in exchangefor$650.00 OfficiallnvestigativeFunds

 (O1F). This drug transaction occurred atthe Swap Shop located at3291 W .Sunrise Blvd.,
 Lauderhill,Florida. The stlspected methamphetam ine purchased from VEGA on thisoccasion

 field tested positive forthe propertiesoflnetham phetamine.Furtherm ore,based on the training

 and experience ofthe law enfbrcementofficers involved with this undercover operation,the

 m ethanaphetam ine appeared to be a very pure form of the drug com m only known as çscrystal''

 m etham phetam ine.
        4.     On January 31,2017,your Affiantwas conducting surveillance on VEGA and

 observed him leavehisresidence in FortLauderdale,Florida while carrying a backpack. VEGA

 departed tlze location ofhisresidence in a red Porsche. Based on observed traft'
                                                                                ic ingactions,as

 wellasVEGA having a suspended driver'slicense,1aw enforcementofficersconducted a traflic

 stop on VEGA in W ilton M anors,Florida. A narcotics-detecting canine subsequently alerted to

 thepresenceofcontrolledsubstancesinsidetheredPorschedriven byVEGA .A search ofthered

 Porsche resulted in the seizure of approximately sixteen (16) grams of suspected
 m etham phetam ine inside the backpack that your A ffiant observed V EGA carrying when he
 em ergedfrom hisapartmentearlierthatday.Thesuspected methamphetaminefieldtestedpositive

 for the properties of lnethamphetam ine. Furthennore, based on your Aftiant's training and


                                           Page2 of4
Case 1:17-cr-20156-FAM Document 1 Entered on FLSD Docket 02/22/2017 Page 5 of 6



 experience,the sixteen gram sofm etham phetamineappeared to be avery pure fbrm ofthe drug

 commonly known asçkcrystal''methamphetamine. Vega wasreleased withoutincident.

               O n Febnlary 8, 2017, Detective Loughran and your Affiant w ere conducting

 surveillanceon Jam esEverly-lwopez,aknown associate ofVEGA.Detective Loughran and your
 Aflsantobserved Everly-Lopez meetwith VEGA in a W algreens parking lot located atSW 8th

 Street and SW 8th Avenue in M iam i, Florida. During this m eeting, Everly-Lopez and VEGA

 appeared to m ake an exchange inside VEGA'S vehicle. Aher exiting VEGA 'S vehicle,VEGA

 traveled to 862 SW 6'hStreet, M iam i,Florida,which isthe apartm entbuilding w here the residence

 ofV EG A 'S known source ofsupply - Lazaro Guevara-l-lerrera - is located.

               Severalm inuteslater,VEGA returnedtothesnme W algreensparking 1otand again

 m etwith Everly-Lopez. After this meeting,Everly-lwopez and VEGA separately departed the

 location. Law-entbrcem ent officers from the M etro Dade Police Departm ent and Broward

 Sheriff s Office subsequently conducted a traffic stop on Everly-Lopez. D uring the stop, a

 narcotics-detecting canine alerted to the presence of a controlled substance in Everly-laopez's

 vehicle.A subsequentsearchofthevehicleresultedin theseizureofapproximately eleven (l1)
 gramsofa substance thatfield-tested positive1brm etham phetamine.Furtherm ore,based on your

 A fllant's training and experience,the eleven grams ofmethamphetam ine appeared to be a very

 pure folnn ofthe drug com m only knom aas ticrystal''m etham phetam ine.

               In a recorded vost-M iranda statem ent,Everly-laopez admitted thathe m etwith

 VEGA atthe W algreensparking lotforthepurposeofpurchasingone-halfounce(i.e.,about14
 grmns)ofmethamphetamine.Everly-lwopezsaidwhenhefirstmetwithVEGA attheW algreens
 parking lot,henoticed VEGA possessed approximately $3000.00 cash. Everly-lwopez said when
 VEGA returned from whatEverly-Lopez believed was VEGA 'S source of the supply,VEGA


                                           Page3 of4
Case 1:17-cr-20156-FAM Document 1 Entered on FLSD Docket 02/22/2017 Page 6 of 6



 provided Everly-Lopez with the above-referenced eleven gram sofmetham phetamine and asked

 Everly-Lopezto cometoVEGA'sresidenceinFortLauderdale,Floridato purchasetheremaining

 3.5gram sofm ethamphetam ine.Everly-Lopezsaidhewastravelingto VEGA'Sresidencein Fort

 Lauderdalewhen hewasstopped by thepolice.
        8.     Based on the above intbrm ation and facts,youraffiantsubmits there is probable

 causeto believe thatChristopherScottVEGA conspired with othersknown and unknown,in the

 Southern District of Florida, to possess with intent to distribute 50 gralns or more of

 methamphetamine,itssalts,isom ers,andsaltsofitsisomers,in violation ofTitle21,United States

 Code,Section 846.
                                    FURTHER YOUR AFFIANT SAYETH NAUGHT



                                    J S A A M AN
                                    Ta orceOfficer
                                    D rug Enforcem entAdm inistration


  Subscribed      orn to betbre
  m e this      ay ofFebruary,2


  JONA        GOODM AN
  Unite St sM agistrateJudge
  Sout ern istrictofFlorida




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